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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

UNITED SERVICES AUTOMOBILE                    §
ASSOCIATION                                   §
                                              §    CIVIL ACTION NOS. 2:21-CV-00246-JRG
v.                                                                   2:22-CV-00193-JRG
                                              §
PNC BANK N.A.

              MINUTES FOR JURY SELECTION/JURY TRIAL DAY NO. 1
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               September 12, 2022

OPEN: 09:19 AM                                                       ADJOURN:        06:07 PM

ATTORNEYS FOR PLAINTIFF:                          See attached

ATTORNEYS FOR DEFENDANT:                          See attached

LAW CLERKS:                                       Katie Albanese
                                                  Ryan Davies
                                                  Harris Huguenard

COURT REPORTER:                                   Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                 Andrea Brunson, CP

    TIME                                      MINUTE ENTRY
 09:19 AM    Court opened. Court’s greeting, introduction and preliminary remarks to Jury Pool.
 09:30 AM    Court asked for announcements from the parties.
 09:31 AM    Court continued by providing case information and gave preliminary instructions
             to Jury Pool.
 09:41 AM    Prospective Jurors began introduction of themselves.
 10:07 AM    Court provided additional instructions to Jury Pool.
 10:10 AM    Voir dire on behalf of Plaintiff by Mr. Bunt.
 10:40 AM    Voir dire on behalf of Defendant by Ms. Smith.
 11:09 AM    Bench conference with counsel.
 11:13 AM    Bench conference completed.
 11:13 AM    Court instructions provided to Jury Pool. Court requested specific juror(s) to remain
             in courtroom while remainder of jurors recessed.
 11:16 AM    Remainder of jurors recessed.
 11:17 AM    Counsel approached bench.
 11:17 AM    Strike conference began with specifically named juror(s).
 11:37 AM    Strike conference concluded. Attorneys excused to exercise strikes.
 11:37 AM    Recess.
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    TIME                                   MINUTE ENTRY
 12:02 PM    Court reconvened.
 12:02 PM    Instructions given by the Court. Jurors selected.
 12:05 PM    Jurors sworn. Additional instructions given by the Court. Remainder of Jury Pool
             excused.
 12:09 PM    Additional instructions given by the Court.
 12:27 PM    Jury recessed for lunch.
 12:27 PM    Mr. Mueller on behalf of Defendant requested running objection to previously
             ruled-on motions. Court GRANTED same.
 12:30 PM    Recess.
 01:30 PM    Court reconvened.
 01:30 PM    Court noted on the record that PX 171 is no longer a pre-admitted exhibit but can
             be used as a demonstrative.
 01:31 PM    Jury returned to courtroom.
 01:32 PM    Court gave preliminary instructions to Jury.
 02:20 PM    Notebooks provided to Jury.
 02:21 PM    Continuation of Court’s preliminary instructions to Jury.
 02:30 PM    Plaintiff’s opening statement by Mr. Sheasby.
 03:00 PM    Defendant’s opening statement by Mr. Mueller.
 03:30 PM    Opening statements concluded.
 03:30 PM    Rule invoked; excluding expert witnesses.
 03:31 PM    USAA’s case-in-chief:
 03:31 PM    Witness sworn. Direct examination of Mr. Chris Wilkinson by Mr. Sheasby.
 04:00 PM    Jury recessed for break.
 04:00 PM    Recess.
 04:13 PM    Court reconvened.
 04:13 PM    Mr. Mueller presented information to the Court re: a prior objection.
 04:15 PM    Jury returned to courtroom.
 04:15 PM    Cross examination of Mr. Chris Wilkinson by Ms. Smith.
 04:23 PM    Bench conference.
 04:24 PM    Bench conference concluded.
 04:24 PM    Continuation cross examination of Mr. Chris Wilkinson by Ms. Smith.
 04:33 PM    Bench conference.
 04:35 PM    Bench conference concluded.
 04:35 PM    Continuation cross examination of Mr. Chris Wilkinson by Ms. Smith.
 04:45 PM    Redirect examination of Mr. Chris Wilkinson by Mr. Sheasby.
 04:50 PM    Courtroom sealed.
 04:51 PM    Continuation redirect examination of Mr. Chris Wilkinson by Mr. Sheasby.
 04:52 PM    Courtroom unsealed.
 04:53 PM    Continuation redirect examination of Mr. Chris Wilkinson by Mr. Sheasby.
 04:53 PM    Recross examination of Mr. Chris Wilkinson by Ms. Smith.
 04:54 PM    Courtroom sealed.
 04:54 PM    Continuation recross examination of Mr. Chris Wilkinson by Ms. Smith.
 04:55 PM    Completion of testimony of Mr. Chris Wilkinson.
 04:55 PM    Courtroom unsealed.
 04:56 PM    Witness sworn. Direct examination of Mr. Bharat Prasad by Mr. Sheasby.
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    TIME                                 MINUTE ENTRY
 05:19 PM    Bench conference.
 05:20 PM    Bench conference concluded.
 05:20 PM    Continuation of direct examination of Mr. Bharat Prasad by Mr. Sheasby.
 05:32 PM    Cross examination of Mr. Bharat Prasad by Mr. Lantier.
 05:56 PM    Redirect examination of Mr. Bharat Prasad by Mr. Sheasby.
 06:01 PM    Completion of testimony of Mr. Bharat Prasad.
 06:02 PM    Jury recessed for the day until 8:30 AM tomorrow.
 06:03 PM    Matters discussed with the Court re: order of witnesses, demonstratives and
             deposition designations.
 06:07 PM    Court adjourned.
